         Case 5:20-cv-00817-ESC Document 20 Filed 06/01/21 Page 1 of 1




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION


HERIBERTO RODRIGUEZ,                           §
                                               §
                  Plaintiff,                   §                SA-20-CV-00817-ESC
                                               §
vs.                                            §
                                               §
ANDREW M. SAUL, COMMISSIONER,                  §
SOCIAL SECURITY                                §
ADMINISTRATION,                                §
                                               §
                  Defendant.                   §

                                    FINAL JUDGMENT

       On this day, the Court vacated the Commissioner’s decision finding Plaintiff not

disabled. For the reasons set forth in the Court’s memorandum opinion,

       IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that this case is

remanded under sentence four of 42 U.S.C. § 405(g) for further administrative proceedings.

       SIGNED this 1st day of June, 2021.




                                    ELIZABETH S. ("BETSY") CHESTNEY
                                    UNITED STATES MAGISTRATE JUDGE
